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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION

     ELIZABETH SINES, et al.,
                                                        CASE NO. 3:17-cv-00072
                                       Plaintiffs,

                           v.                            ORDER

     JASON KESSLER, et al.,
                                                         JUDGE NORMAN K. MOON
                                       Defendants.



         The jury trial in this case is currently scheduled for April 26 to May 21, 2021. The trial is

  set for four weeks. There are nine Plaintiffs, and twenty individual and organizational Defendants.

  Considering the health risks presented by COVID-19 in this District and Virginia; the nature of

  this case and the projected extensive breadth and scope of this trial; noting the parties’ agreement

  to such a continuance upon inquiry by the Court; and receiving no objections thereto; the Court

  finds good cause to CONTINUE the trial.

         The trial shall be continued until October 25 to November 19, 2021, dates previously set

  aside on the Court’s calendar and by the parties for this trial.

         It is so ORDERED.

         The Clerk of the Court is directed to send a certified copy of this Order to the parties.

         Entered this 3rd       day of February, 2021.
